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uNlTED STATES oF AMER|CA mf€-;§t@;i. .[.|..__, E`,.;Eh,.,pH;S

P|aintiff

VS.
CR. NO. 05-20068-D

AR|ANE GRANT

Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on May19, 2005. At that time, counsel forthe
defendant requested a continuance of the June 6, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to August 1, 2005 with a
onrt date of Thursdgy, Ju|v 21, 2005, at 9:00 a.m., in Courtroom 3, ch F|oor of the
Federal Building, Memphis, TN.

The period from June 17, 2005 through August 12, 2005 is excludable under 18
U.S.C. § 3161 (h)(8)(B)(iv) because the ends ofjustice served in allowing for additional time
to prepare outweigh the need for a speedy trial.

lT is so oRDEREo this 3/ day of May, 2005.

B§RNicE s.§§ol\nv\l_o2 h

UN|TED STATES DISTR|CT JUDGE

 

 

COURT - WESRNTE

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This notice confirms a copy of the document docketed as number 22 in
case 2:05-CR-20068 Was distributed by faX, mail, or direct printing on
June 7, 2005 to the parties listed.

ENNESSEE

 

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Honorable Bernice Donald
US DISTRICT COURT

